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   TO PROTECTIVE ORDER


           EXHIBIT 11
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HTTP	  Adap)ve	  Streaming	  in	  prac)ce	  

                               Mark	  Watson	  
        (with	  thanks	  to	  the	  Ne@lix	  adapEve	  streaming	  team!)	  



     ACM	  MMSys	  2011	  –	  22-­‐24	  February	  2011,	  San	  Jose,	  CA	  
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                          NeBlix	  Overview	  

                                     • Started	  with	  DVD-­‐by-­‐mail,	  
                                       now	  primarily	  Internet	  streaming	  

                                     • 20+	  million1	  subscribers,	  
                                       growing	  rapidly	  (>15%	  of	  US	  
                                       households	  subscribe	  to	  Ne7lix)	  

                                     • USA-­‐only	  for	  ten	  years,	  
                                       Canada	  in	  2010,	  
                                       further	  expansion	  in	  2011+	  

                                     • Unlimited	  Streaming	  =	  $7.99/month	  	  
Netflix corporate headquarters
                                        o Plus	  1	  DVD	  at	  a	  Eme	  =	  $9.99/month	  	  
          Los Gatos, California

                                                                         1 subscriber reported 1/26/11
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           Partner	  Products	  
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                                     Contents	  
• Why	  HTTP	  adapEve	  streaming	  ?	  
• Streaming	  approaches	  
• Measuring	  quality	  and	  the	  value	  of	  quality	  
• AdaptaEon	  algorithms	  and	  open	  problems	  
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Why	  HTTP	  Adap)ve	  Streaming	  ?	  


  Commodity service

 Competing providers


  Economies of scale


            Netflix Confidential
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Unicast	                       MulEcast	  




                            Synchronous	                            Asynchronous	  
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                  Client-­‐centric	  approach	  
• Client	  has	  the	  best	  view	  of	  network	  condiEons	  
• No	  session	  state	  in	  network	  
    – Redundancy	  
    – Scalability	  
• Faster	  innovaEon	  and	  experimentaEon	  	  
• BUT,	  relies	  on	  client	  for	  operaEonal	  metrics	  
    – only	  the	  client	  knows	  what	  really	  happened	  
      anyway	  
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                         Scalability	  examples	  
• Microso_	  streaming	  of	  2008	  Olympics	  
    – 4	  Petabytes	  live	  &	  VoD	  content	  in	  one	  month	  
    – North	  America	  (av.	  user	  bandwidth	  2Mbit/s)	  
    – Millions	  of	  simultaneous	  sessions	  
    – Over	  exis)ng	  infrastructure	  
• Ne@lix	  
    – 20%	  of	  North	  American	  Internet	  traﬃc	  at	  peak	  hours	  
    – Millions	  of	  hours	  of	  content	  every	  day	  
    – Bitrates	  up	  to	  4.8Mbit/s	  
    – Almost	  no	  dedicated	  infrastructure	  
         • Control	  servers	  in	  AWS	  
         • Content	  delivery	  through	  CDNs	  
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                                                          NeBlix	  Performance	  on	  Top	  Networks	  -­‐	  USA	  
                                3,000	  

                                2,800	  

                                2,600	  

                                2,400	  

                                2,200	  
kilobits	  per	  second	  




                                2,000	  

                                1,800	  

                                1,600	  

                                1,400	  

                                1,200	  

                                1,000	  
                                            10/10/10	  
                                            10/13/10	  
                                            10/18/10	  
                                            10/21/10	  
                                            10/25/10	  
                                            10/28/10	  
                                            10/31/10	  




                                            11/12/10	  
                                            11/15/10	  
                                            11/18/10	  
                                            11/21/10	  
                                            11/24/10	  
                                            11/27/10	  
                                            11/30/10	  



                                            12/16/10	  
                                            12/19/10	  
                                            12/22/10	  
                                            12/25/10	  
                                            12/28/10	  
                                            12/31/10	  
                                              1/5/11	  
                                              1/8/11	  
                                             1/11/11	  
                                             1/14/11	  
                                             10/1/10	  
                                             10/4/10	  
                                             10/7/10	  




                                             11/3/10	  
                                             11/6/10	  
                                             11/9/10	  




                                             12/3/10	  
                                             12/6/10	  
                                       Qwest	                     CenturyTel	                 Cablevision	               Bellsouth	  
                                       Verizon	                   Windstream	                 Cable	  One	              Clearwire	  
                                       Suddenlink	                Charter	                    Comcast	                   Cox	  
                                       ATT	                       Embarq	                     FronEer	                   Time	  Warner	  
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Streaming	  bitrate	  performance	  




                     (just	  one	  device	  type)	  
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  Streaming	  rebuﬀer	  rates	  




                   (just	  one	  device	  type)	  
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                                    Contents	  
• Why	  HTTP	  adapEve	  streaming	  ?	  
• Streaming	  approaches	  
• Measuring	  quality	  and	  the	  value	  of	  quality	  
• AdapEvity	  algorithms	  and	  open	  problems	  
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               Adap)ve	  streaming	  in	  prac)ce	  

                                                                             Small	  media	  chunks	  
                                                                               (“streamlets”)	  
                                    HTTP	  Live	  Streaming	  




                                                                               Chunks	  created	  at	  
                                    Adobe	  HTTP	  Dynamic	                   origin	  server	  
                                        Streaming	  
Smooth	  Streaming	  




                                                                                HTTP	  Byte	  Range	  
                                                                                   requests	  
                                        MPEG	  DASH	  
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               Adap)ve	  streaming	  in	  prac)ce	  


                                    HTTP	  Live	  Streaming	  



                                                                    Combined	  A/V	  
                                                                    streams	  only	  
                                    Adobe	  HTTP	  Dynamic	  
                                        Streaming	  
Smooth	  Streaming	  




                                                                    Separate	  Audio/Video	  
                                        MPEG	  DASH	  
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               Adap)ve	  streaming	  in	  prac)ce	  
                                                                        No	  switchpoint	  
                                                                        alignment	  
                                    HTTP	  Live	  Streaming	  




                                    Adobe	  HTTP	  Dynamic	  
                                        Streaming	  
Smooth	  Streaming	  

                                                                        Switchpoint	  
                                                                        alignment	  
                                                                        (opEonal)	  
                                        MPEG	  DASH	  
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                       Switchpoint	  Alignment	  

                                                                                       Time	  
Stream	  1	  

Stream	  2	  


                                                 Switch	  point	  



 Stream	  1	  

 Stream	  2	  


                                          Switch	  point	  
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               Adap)ve	  streaming	  summary	  
• For	  On	  Demand	  
     – Chunks	  are	  unnecessary	  and	  costly	  
     – Byte	  Range	  requests	  have	  caching	  and	  ﬂexibility	  advantages	  
     – Separate	  audio/video	  essenEal	  for	  language	  support	  
• For	  Live	  
     – Chunks	  are	  unavoidable	  
     – SEll	  value	  in	  decoupling	  request	  size	  from	  chunk	  size	  
     – MulEple	  language	  audio	  tracks	  are	  rare	  
     – May	  need	  manifest	  updates	  
• For	  both	  
     – Switch	  point	  alignment	  required	  for	  most	  CE	  decoding	  
       pipelines	  
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                              MPEG	  DASH	  
• Supports	  both	  unchunked	  &	  chunked	  
• Supports	  both	  separate	  &	  combined	  A/V	  
• Index	  formats	  for	  eﬃcient	  byte	  range	  operaEon	  
• ISO	  Base	  Media	  File	  Format	  w/common	  encrypEon	  
• Rigorous	  deﬁniEon	  of	  stream	  alignment	  requirements	  
• Signaling	  of	  diﬀerent	  alignment	  modes	  
• Many	  useful	  stream	  and	  track	  annotaEons	  

     Currently	  the	  best	  candidate	  for	  an	  open	  
         standard	  for	  adap)ve	  streaming	  
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                                    Contents	  
• Why	  HTTP	  adapEve	  streaming	  ?	  
• Streaming	  approaches	  
• Measuring	  quality	  and	  the	  value	  of	  quality	  
• AdapEvity	  algorithms	  and	  open	  problems	  
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                             Measuring	  quality	  
• Reliable	  transport	  =>	  all-­‐or-­‐nothing	  delivery	  
• Quality	  characterized	  by	  
    – Video	  quality	  
         • At	  startup,	  average	  and	  variability	  
    – Re-­‐buﬀer	  rate	  
         • Re-­‐buﬀers	  per	  viewing	  hour,	  duraEon	  of	  re-­‐buﬀer	  pauses	  
    – Startup	  delay	  
         • Time	  from	  use	  acEon	  to	  ﬁrst	  frame	  displayed	  
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                Importance	  of	  client	  metrics	  
• Metrics	  are	  operaEonally	  essenEal	  
    – DetecEng	  and	  debugging	  failures	  
    – Managing	  performance	  
    – ExperimentaEon	  
• Absence	  of	  server-­‐side	  metrics	  places	  onus	  on	  client	  
• What	  do	  we	  need	  ?	  
    – Reports	  of	  what	  the	  user	  did	  (or	  didn’t)	  see	  
         • Which	  part	  of	  which	  stream	  presented	  when	  
    – Reports	  of	  what	  happened	  on	  the	  network	  
         • Requests	  sent,	  responses	  received,	  Eming,	  throughput	  
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                                    Contents	  
• Why	  HTTP	  adapEve	  streaming	  ?	  
• Streaming	  approaches	  
• Measuring	  quality	  and	  the	  value	  of	  quality	  
• Adap)vity	  algorithms	  and	  open	  problems	  
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              Adapta)on	  problem	  


Choose	  sequence	  and	  )ming	  of	  requests	  
                                    to	  
    Minimize	  probability	  of	  re-­‐buﬀers	  

                    Maximize	  quality	  
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         Adapta)on	  problem:	  Inputs	  
                                                                                Possible	  
History	              Current	  state	  
                                                                                choices	  
                               audio	                        Stream	  1	  

                           video	                            Stream	  2	  

                                                              Stream	  3	  




       Capturing	  and	  represen)ng	  all	  this	  
            informa)on	  is	  not	  easy!	  
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              Adapta)on	  problem:	  logic	  
                                                                                    Possible	  
 History	                 Current	  state	  
                                                                                    choices	  
                                   audio	                        Stream	  1	  

                               video	                            Stream	  2	  

                                                                  Stream	  3	  




 Model	  of	                         Expected	  performance	  for	  
  future	                                   each	  choice	  
bandwidth	  
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          Adapta)on	  problem:	  example	  
• Model	  of	  future	  bandwidth	  
   – Constant	  
   – Equal	  to	  average	  over	  last	  10s	  
• Analysis	  of	  choices	  
   – Construct	  “plan”	  for	  each	  choice	  
   – Determine	  re-­‐buﬀers	  for	  each	  plan	  	  
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       Adapta)on	  problem:	  future	  work	  
• Good	  models	  of	  future	  bandwidth	  based	  on	  
  history	  
   – Short	  term	  history	  
   – Long	  term	  history	  (across	  mulEple	  sessions)	  
• Tractable	  representaEons	  of	  future	  choices	  
   – Including	  scalability,	  mulEple	  streams	  
• ConvoluEon	  of	  future	  bandwidth	  models	  with	  
  possible	  plans	  
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                                   Conclusions	  
• Asynchronous	  delivery	  of	  same	  content	  to	  many	  users	  
  is	  a	  ﬁrst-­‐class	  network	  service	  
    – HTTP	  CDNs	  may	  not	  be	  the	  “perfect”	  architecture,	  but	  it’s	  
      working	  prevy	  well	  at	  scale	  
• Many	  variaEons	  on	  HTTP	  AdapEve	  Streaming	  theme	  
  in	  deployed	  systems	  and	  emerging	  standards	  
    – MPEG	  DASH	  provides	  suﬃcient	  ﬂexibility	  here	  
• AdaptaEon	  is	  not	  straigh@orward	  
    – How	  to	  model	  bandwidth	  future	  based	  on	  history	  ?	  
    – How	  to	  eﬃciently	  search	  choice	  space	  to	  maximise	  quality	  
      goals	  ?	  
    – What	  are	  the	  quality	  goals	  ?	  
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                  Ques)ons	  ?	  




Mark	  Watson,	  watsonm@ne@lix.com	  
